                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


 In re:                                        )       Case No. 22-50763 (AMK)
                                               )
          Williams J. Huet and                 )       Chapter 7
          Lisa J. Huet                         )
                                               )
                 Debtors                       )       Judge Alan M. Koschik

          Motion of the United States Trustee for Extension of Time in Which to File a
                    Motion to Dismiss or Complaint Objecting to Discharge

          Now comes Andrew R. Vara, United States Trustee for Region 9 (“UST”), and

 respectfully moves this Court for an order extending the time pursuant to Fed. R. Bankr. P.

 1017(e) to file a motion to dismiss under 11 U.S.C. § 707(b) and under Fed. R. Bankr. P.

 4004(b) to file a complaint objecting to discharge under 11 U.S.C. § 727 until December 23,

 2022. In support, the United States Trustee offers the following:

          1. Williams J. Huet and Lisa J. Huet (the “Debtors”) filed the instant voluntary

 chapter 7 bankruptcy petition on June 30, 2022. Doc. 1. Melissa M. Macejko was

 appointed as the Chapter 7 trustee (the “Trustee”). The initial 341 meeting of creditors

 was scheduled to be held on August 22, 2022 and adjourned several times to October 17,

 2021. Docket Nos. 5, 25, 27, 34. The deadline to file a motion to dismiss under 11

 U.S.C. § 707(b) or a complaint objecting to discharge under 11 U.S.C. § 727 is October

 21, 2022. Docket No. 5.

          2. Previously, the Debtors filed chapter 7 bankruptcy case no. 19-50025. The

 Debtors converted their case to chapter 13 after the UST filed a motion to dismiss. Case

 No. 19-50025, Docket Nos. 34, 40 and 42. The chapter 13 proceeding was subsequently




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 dismissed upon motion of the chapter 13 trustee. Case No. 19-50025, Docket Nos. 119

 and 124.

         3. The Trustee referred this case to the UST after the initial creditors’ meeting

 was held on September 9, 2022. It is the understanding and belief of the UST that the

 Trustee adjourned the creditors’ meeting, in part, to secure information requested from

 the Debtors that is necessary for her administration of their bankruptcy case. Since the

 creditors’ meeting has yet to be concluded, the UST requests an extension of the deadline

 to file a motion to dismiss and complaint objecting to discharge so that he may review all

 information in connection with this case, including the Debtors’ testimony at each

 creditors’ meetings, and take such further action as may be deemed warranted.

         4. A motion to dismiss a chapter 7 proceeding for abuse pursuant to 11 U.S.C. Section

 707(b)(1) and (3) must be filed “not later than 60 days following the first date set for the

 meeting of creditors. . . .” Fed. R. Bankr. P. 1017(e). Bankruptcy Rule 1017(e) continues with

 language permitting the extension of time where the Court finds cause exists. Similarly,

 pursuant to Bankruptcy Rule 4004(a), a complaint filed under 11 U.S.C..Section 727 is to be

 filed “no later than 60 days after the first date set for the meeting of creditors. . . .” Bankruptcy

 Rule 4004(b) continues that the “court may for cause extend the time to file a complaint

 objecting to discharge.”

        5. The UST seeks a further extension of the deadline to file a motion to dismiss

 under 11 U.S.C. § 707(b)(3) and the deadline to file a complaint objecting to discharge under

 11 U.S.C. § 727 until December 23, 2022. The extension will provide time for the UST to

 review all information currently available in this case and take further action as may be

 warranted, including but not limited to assessing the extent to which the Debtors’ financial




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 condition has changed since their prior bankruptcy filing in which the UST filed a motion to

 dismiss.

        WHEREFORE, the United States Trustee requests that this Court enter an order

 extending the time to file a motion to dismiss under 11 U.S.C. Section 707(b)(3) or a

 complaint objecting to discharge under 11 U.S.C. Section 727(a) until December 23, 2022.

                                                            Respectfully Submitted,

                                                            Andrew R. Vara
                                                            United States Trustee, Region 9

                                                     by:     /s/ Amy L. Good
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                                     Certificate of Service

        I hereby certify that on October 18, 2022 a true and correct copy of the foregoing

 Motion was served.

 Via the Court’s Electronic Case Filing System on these entities and individuals who are listed
 on the Court’s Electronic Mail Notice List:

   •   Cynthia A. Jeffrey bankruptcy@weinerlaw.com
   •   Melissa M. Macejko akrontr@suharlaw.com,
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And by regular U.S. Mail to:

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